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11
                                UNITED STATES DISTRICT COURT FOR THE
12                                NORTHERN DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,              )               Case No.
14                                          )
              Plaintiff,                    )               COMPLAINT
15                                          )
              v.                            )
16                                          )
     FRANCIS BURGA and                      )
17   FRANCIS BURGA AS                       )
     THE ADMINISTRATOR OF THE ESTATE )
18   OF MARGELUS BURGA,                     )
                                            )
19            Defendants.                   )
     _______________________________________)
20

21          Plaintiff, the United States of America, brings this action to collect unpaid federal penalty

22 assessments and interest as provided by law, and to reduce those assessments to judgment. Additionally,

23 the United States intends to proceed under the Federal Debt Collection Practices Act (28 U.S.C. § 3001

24 et seq.) to collect any judgment it obtains in this case, including the use of all appropriate pre-judgment

25 remedies, post-judgment remedies, and the additional surcharge as authorized by 28 U.S.C. § 3011. In

26 support of this action, the United States complains and alleges as follows:

27

28


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 1                                               INTRODUCTION

 2          1.       This is a timely civil action brought by the United States to collect the outstanding unpaid

 3 civil penalty assessments (31 U.S.C. § 5321(a)(5)), commonly known as FBAR penalties, made against

 4 defendants Francis and Margelus Burga for their failure to report their interest in foreign bank accounts,

 5 as required by 31 U.S.C. § 5314 and the implementing regulations promulgated thereunder.

 6          2.       This action is brought with the authorization of the Secretary of the Treasury (31 U.S.C. §

 7 3711(g)(4)(C)) and at the direction of the Attorney General of the United States.

 8                                                 DEFENDANTS

 9          3.       Defendant Francis Burga is a United States citizen, who currently resides in Santa Clara

10 County, California. Ms. Burga has resided in Santa Clara County since at least 1990, and resided there

11 during the time periods relevant to the civil penalties at issue.

12          4.       Defendant Margelus Burga was a United States citizen, who resided in Santa Clara

13 County, California. Mr. Burga’s legal residence was Santa Clara County during the time periods

14 relevant to the civil penalties at issue.

15          5.       Francis and Margelus Burga were married until Margelus died in Janaury 2010. Francis

16 Burga is the Administrator of the Estate of Margelus Burga.

17                                        JURISDICTION AND VENUE

18          6.       Jurisdiction over this action is conferred upon this district court by 28 U.S.C. §§ 1331,

19 1345 and 1355.

20          7.       Venue properly lies in the Northern District of California under 28 U.S.C. § 1391(b)(1)

21 because Ms. Burga resides within the judicial district. Further, venue is proper under 28 U.S.C. §

22 1391(b)(2) because a substantial part of the events or omissions giving rise to the claim occurred in this

23 judicial district.

24                                      INTRADISTRICT ASSIGNMENT

25          8.       A substantial part of the events that gave rise to this action occurred in Santa Clara

26 County, defendants resided in Santa Clara County during the relevant time periods, and Ms. Burga

27 continues to reside there; accordingly, this action can be assigned to the San Jose Division.

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 1                        FOREIGN BANK OR OTHER FINANCIAL ACCOUNTS

 2         9.       31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require United States

 3 persons to report certain transactions with foreign financial agencies. Under the statute’s implementing

 4 regulations, “[e]ach United States person having a financial interest in, or signature authority over, a

 5 bank, securities, or other financial account in a foreign country shall report such relationship” to the

 6 Internal Revenue Service (“IRS”) for each year in which such relationship exists. 31 C.F.R. §

 7 1010.350(a).

 8         10.      To fulfill this requirement, a person must file a Form TD F 90-22.1, “Report of Foreign

 9 Bank and Financial Accounts,” commonly known as an “FBAR.” For the calendar years at issue, an

10 FBAR was due by June 30 “of each calendar year with respect to foreign financial accounts exceeding

11 $10,000 maintained during the previous calendar year.” 31 C.F.R. § 1010.306(c).

12         11.      31 U.S.C. § 5321(a)(5) provides for the imposition of civil penalties for failure to comply

13 with the reporting requirements of 31 U.S.C. § 5314.

14         12.      Defendants had financial interests in at least 294 foreign bank accounts, in various

15 countries, during at least years 2004 through 2009, as described below:

16              Name on Account                 Country             Bank               Account Number
17     Accipitor Trading Ltd.              British Virgin      LGT                         XXX5.027
                                           Islands
18     Accipitor Trading Ltd.              British Virgin      LGT                         XXX5.034
19                                         Islands
       Accipitor Trading Ltd.              British Virgin      LGT                         XXX5.041
20                                         Islands
       Accipitor Trading Ltd.              British Virgin      LGT                         XXX5.058
21                                         Islands
       Accipitor Trading Ltd.              British Virgin      LGT                         XXX5.065
22
                                           Islands
23     Accipitor Trading Ltd.              British Virgin      LGT                         XXX8430
                                           Islands
24     Accipitor Trading Ltd.              British Virgin      LGT                         XXX9632
                                           Islands
25     Accipitor Trading Ltd.              British Virgin      LGT                         XXX5582
26                                         Islands
       Accipitor Trading Ltd.              British Virgin      LGT                         XXX05AA
27                                         Islands
       Accipitor Trading Ltd.              British Virgin      LGT                         XXX05AF
28                                         Islands

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 1     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AG
                                   Islands
 2     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AH
 3                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AI
 4                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AJ
 5                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AL
 6
                                   Islands
 7     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AM
                                   Islands
 8     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AN
                                   Islands
 9     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AP
10                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AQ
11                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AR
12                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AS
13
                                   Islands
14     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AT
                                   Islands
15     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AU
                                   Islands
16     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AV
17                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AW
18                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AX
19                                 Islands
       Accipitor Trading Ltd.      British Virgin   LGT                XXX05AY
20
                                   Islands
21     Accipitor Trading Ltd.      British Virgin   LGT                XXX05AZ
                                   Islands
22     Accipitor Trading Ltd.      British Virgin   UBS (GR)           XXX9.7P Y
                                   Islands
23     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX01/26
24                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX88/26
25                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX33/26
26                                 Islands
27     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX02/26
                                   Islands
28     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX34/26


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 1                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX14/26
 2                                 Islands
 3     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX01/26
                                   Islands
 4     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX88/26
                                   Islands
 5     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX33/26
                                   Islands
 6
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX02/26
 7                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX14/26
 8                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX88/26
 9                                 Islands
10     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX33/26
                                   Islands
11     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX02/26
                                   Islands
12     Accipitor Trading Ltd.      British Virgin   MAERKI             XXX14/26
                                   Islands
13
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX14/26
14                                 Islands
       Accipitor Trading Ltd.      British Virgin   MAERKI             XXX14/26
15                                 Islands
       Accipitor Trading Ltd.      British Virgin   UBS AG             XXX-0339
16                                 Islands
17     Accipitor Trading Ltd.      British Virgin   UBS AG             XXX9.60R
                                   Islands
18     Aljohn Establishment        Liechtenstein    LGT                XXX.024
       Aljohn Establishment        Liechtenstein    LGT                XXX8.031
19     Aljohn Establishment        Liechtenstein    LGT                XXX8.048
20     Aljohn Establishment        Liechtenstein    HYPO               XXX9101
       Aljohn Establishment        Liechtenstein    HYPO               XXX9118
21     Aljohn Establishment        Liechtenstein    HYPO               XXX9126
       Aljohn Establishment        Liechtenstein    HYPO               XXX9134
22     Aljohn Establishment        Liechtenstein    HYPO               XXX9142
23     Aljohn Establishment        Liechtenstein    HYPO               XXX9169
       Aljohn Establishment        Liechtenstein    HYPO               XXX9177
24     Aljohn Establishment        Liechtenstein    HYPO               XXX9185
       Aljohn Establishment        Liechtenstein    HYPO               XXX9215
25     Aljohn Establishment        Liechtenstein    HYPO               XXX9223
       Aljohn Establishment        Liechtenstein    HYPO               XXX9231
26
       Aljohn Establishment        Liechtenstein    HYPO               XXX9241
27     Aljohn Establishment        Liechtenstein    HYPO               XXX9258
       Aljohn Establishment        Liechtenstein    HYPO               XXX9266
28     Aljohn Establishment        Liechtenstein    HYPO               XXX9274

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 1     Aljohn Establishment        Liechtenstein    HYPO               XXX9282
       Aljohn Establishment        Liechtenstein    LGT                XXX0119
 2     Aljohn Establishment        Liechtenstein    LGT                XXX2354
 3     Aljohn Establishment        Liechtenstein    LGT                XXX4062
       Aljohn Establishment        Liechtenstein    LGT                XXX68AB
 4     Aljohn Establishment        Liechtenstein    LGT                XXX68AN
       Aljohn Establishment        Liechtenstein    LGT                XXX68AP
 5     Aljohn Establishment        Liechtenstein    LGT                XXX68AQ
 6     Aljohn Establishment        Liechtenstein    LGT                XXX68AR
       Aljohn Establishment        Liechtenstein    LGT                XXX68AS
 7     Aljohn Establishment        Liechtenstein    LGT                XXX68AT
       Aljohn Establishment        Liechtenstein    LGT                XXX68AU
 8     Aljohn Establishment        Liechtenstein    LGT                XXX68AV
       Aljohn Establishment        Liechtenstein    LGT                XXX68AW
 9
       Aljohn Establishment        Liechtenstein    LGT                XXX68AX
10     Aljohn Establishment        Liechtenstein    LGT                XXX68AY
       Aljohn Establishment        Liechtenstein    LGT                XXX68AZ
11     Aljohn Establishment        Liechtenstein    LGT                XXX68BA
       Aljohn Establishment        Liechtenstein    LGT                XXX68BB
12
       Aljohn Establishment        Liechtenstein    LGT                XXX68BC
13     Aljohn Establishment        Liechtenstein    LGT                XXX68BD
       Aljohn Establishment        Liechtenstein    LGT                XXX68BE
14     Aljohn Establishment        Liechtenstein    LGT                XXX68BF
       Aljohn Establishment        Liechtenstein    LGT                XXX68BG
15
       Aljohn Establishment        Liechtenstein    LGT                XXX68BH
16     Aljohn Establishment        Liechtenstein    LGT                XXX68BI
       Aljohn Establishment        Liechtenstein    LGT                XXX68BJ
17     Aljohn Establishment        Liechtenstein    LGT                XXX68BK
       Aljohn Establishment        Liechtenstein    LGT                XXX68BL
18
       Aljohn Establishment        Liechtenstein    LGT                XXX68BM
19     Bakewell Assets Ltd.        British Virgin   RB                 XXX57.30
                                   Islands
20     Bakewell Assets Ltd.        British Virgin   RB                 XXX57.93
                                   Islands
21     Bakewell Assets Ltd.        British Virgin   LGT                XXX6.023
22                                 Islands
       Bakewell Assets Ltd.        British Virgin   LGT                XXX6.030
23                                 Islands
       Bakewell Assets Ltd.        British Virgin   LGT                XXX16AA
24                                 Islands
       Bakewell Assets Ltd.        British Virgin   LGT                XXX16AC
25
                                   Islands
26     Bakewell Assets Ltd.        British Virgin   LGT                XXX16AD
                                   Islands
27     Bakewell Assets Ltd.        British Virgin   LGT                XXX16AE
                                   Islands
28     Bakewell Assets Ltd.        British Virgin   LGT                XXX16AF

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 1                                  Islands
       Bakewell Assets Ltd.         British Virgin   LGT               XXX16AG
 2                                  Islands
 3     Bakewell Assets Ltd.         British Virgin   LGT               XXX16AH
                                    Islands
 4     Fondation Romphil            Liechtenstein    LGT               XXX31AB
       Fondation Romphil            Liechtenstein    LGT               XXX31AL
 5     Fondation Romphil            Liechtenstein    LGT               XXX31AM
       Fondation Romphil            Liechtenstein    LGT               XXX31AP
 6
       Fondation Romphil            Liechtenstein    LGT               XXX31AQ
 7     Fondation Romphil            Liechtenstein    LGT               XXX31AU
       Fondation Romphil            Liechtenstein    LGT               XXX 31BC
 8     Fondation Romphil            Liechtenstein    LGT               XXX 31BD
       Fondation Romphil            Liechtenstein    LGT               XXX 31BE
 9
       Fondation Romphil            Liechtenstein    LGT               XXX 31BF
10     Fondation Romphil            Liechtenstein    LGT               XXX 31BG
       Fondation Romphil            Liechtenstein    LGT               XXX 31BH
11     Fondation Romphil            Liechtenstein    LGT               XXX 31BJ
       Fondation Romphil            Liechtenstein    LGT               XXX 31BK
12
       Fondation Romphil            Liechtenstein    LGT               XXX 31BL
13     Fondation Romphil            Liechtenstein    LGT               XXX 31BM
       Fondation Romphil            Liechtenstein    LGT               XXX 31BN
14     Fondation Romphil            Liechtenstein    LGT               XXX 31BP
       Fondation Romphil            Liechtenstein    LGT               XXX 31BQ
15
       Fondation Romphil            Liechtenstein    LGT               XXX 31BR
16     Fondation Romphil            Liechtenstein    LGT               XXX31BS
       Fondation Romphil            Liechtenstein    LGT               XXX 31BT
17     Fondation Romphil            Liechtenstein    LGT               XXX 31BU
       Fondation Romphil            Liechtenstein    LGT               XXX 31BX
18     Fondation Romphil            Liechtenstein    LGT               XXX 31CB
19     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AA
       Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AB
20     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AC
       Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AD
21     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AG
22     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AH
       Fondation Romphil            Liechtenstein    LGT (SIN)          XXX17AI
23     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AJ
       Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AK
24     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AN
25     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AP
       Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AQ
26     Fondation Romphil            Liechtenstein    LGT (SIN)          XXX 7AS
       Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AT
27     Fondation Romphil            Liechtenstein    LGT (SIN)         XXX 17AU
28     Fondation Romphil Septo PM   Liechtenstein    LGT               XXX 70AA
       Fondation Romphil Septo PM   Liechtenstein    LGT               XXX 70AB

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 1     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AC
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AF
 2     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AH
 3     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AL
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AM
 4     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AP
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AS
 5     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AT
 6     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AU
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AV
 7     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AW
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AX
 8     Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AY
       Fondation Romphil Septo PM        Liechtenstein   LGT          XXX 70AZ
 9
       Francis Burga                     Switzerland     RB           XXX 90.49
10     Framach Invest AG                 Switzerland     RB           XXX 66.90
       Framach Invest AG                 Switzerland     UBS (GR)     XXX 4.01F
11     Framach Invest AG                 Switzerland     UBS (GR)     XXX 0001
       Framach Invest AG                 Switzerland     UBS Chur     XXX 54.S1
12
       Framach Invest AG                 Switzerland     RB           XXX 6.36/1
13     Glide/Write Aljohn (S) PTE Ltd.   Singapore       DBS          XXX 4-022
       Glide/Write Aljohn (S) PTE Ltd.   Singapore       DBS          XXX 6-022
14     Glide/Write Aljohn (S) PTE Ltd.   Singapore       DBS          XXX 320-0
       Glide/Write Cygnus                Japan           TOKYO        XXX 6549
15
       Glide/Write Cygnus                Japan           TOKYO        XXX 5499
16     Glide/Write Cygnus                Japan           TOKYO        XXX 6738
       Glide/Write Cygnus                Japan           TOKYO        XXX 7048
17     Glide/Write Cygnus                Japan           TOKYO        XXX 7051
       Gobelia Property Inc.             Panama          HYPO         XXX 1019
18
       Gobelia Property Inc.             Panama          HYPO         XXX 1027
19     Gobelia Property Inc.             Panama          HYPO         XXX 1035
       Gobelia Property Inc.             Panama          HYPO         XXX 1043
20     Gobelia Property Inc.             Panama          MAERKI       XXX 01/26
       Gobelia Property Inc.             Panama          MAERKI       XXX 01/26
21
       Gobelia Property Inc.             Panama          MAERKI       XXX33/26
22     Gobelia Property Inc.             Panama          MAERKI       XXX 14/26
       Gobelia Property Inc.             Panama          MAERKI       XXX46/26
23     Gobelia Property Inc.             Panama          MAERKI       XXX 01/26
       Gobelia Property Inc.             Panama          MAERKI       XXX 33/26
24     Gobelia Property Inc.             Panama          MAERKI       XXX14/26
25     Gobelia Property Inc.             Panama          MAERKI       XXX 01/26
       Gobelia Property Inc.             Panama          MAERKI       XXX 14/26
26     Gobelia Property Inc.             Panama          MAERKI       XXX 14/26
       Gobelia Property Inc.             Panama          MAERKI       XXX14/26
27     Gobelia Property Inc.             Panama          LGT (SIN)    XXX 97AA
28     Gobelia Property Inc.             Panama          LGT (SIN)    XXX 97AB
       Gobelia Property Inc.             Panama          LGT (SIN)    XXX 97AC

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 1     Gobelia Property Inc.              Panama          LGT (SIN)    XXX 97AD
       Gobelia Property Inc.              Panama          LGT (SIN)    XXX 97AE
 2     Gobelia Property Inc.              Panama          LGT (SIN)    XXX 97AK
 3     Gobelia Property Inc.              Panama          LGT (SIN)    XXX 97AL
       Gobelia Property Inc. Septo        Panama          MAERKI       XXX 01/26
 4     Gobelia Property Inc. Septo        Panama          MAERKI       XXX 88/26
       Gobelia Property Inc. Septo        Panama          MAERKI       XXX 33/26
 5     Gobelia Property Inc. Septo        Panama          MAERKI       XXX 02/26
 6     Gobelia Property Inc. Septo        Panama          MAERKI       XXX 34/26
       Gobelia Property Inc. Septo        Panama          MAERKI       XXX 14/26
 7     Gobelia Property Inc. Septo        Panama          MAERKI       XXX 01/26
       Gobelia Property Inc. Septo        Panama          MAERKI        XXX4/26
 8     Gobelia Property Inc. Septo        Panama          MAERKI       XXX 01/26
       Gobelia Property Inc. Septo        Panama          MAERKI       XXX 14/26
 9
       Gobelia Property Inc. Septo        Panama          MAERKI       XXX 14/26
10     Huritga Int. Holding (S) Pte Ltd   Singapore       DBS          XXX 5-022
       Huritga Int. Trading and Fin.      Liechtenstein   LGT          XXX 62AC
11     Ltd.
       Huritga Int. Trading and           Liechtenstein   HYPO         XXX 4019
12
       Financint Ltd.
13     Huritga Int. Trading and           Liechtenstein   LGT          XXX 2.026
       Financint Ltd.
14     Intervino AG                       Liechtenstein   VPB          XXX2.013
       Intervino AG                       Liechtenstein   VPB          XXX2.999
15     Jonax International AG             Liechtenstein   B. Pasche    XXX 878_9
16     Jonax International AG             Liechtenstein   SWISSFIRST   XXX 9.100
       Jonax International AG             Liechtenstein   WEGELIN      XXX 9.101
17     Jonax International AG             Liechtenstein   SWISSFIRST   XXX 9.200
       Limoni Real Estate Inc.            Panama          RB           XXX 38.02
18     Limoni Real Estate Inc.            Panama          RB           XXX 38.26
19     Limoni Real Estate Inc.            Panama          RB           XXX 38.45
       Limoni Real Estate Inc.            Panama          RB           XXX 38.77
20     Limoni Real Estate Inc.            Panama          RB           XXX 38.80
       Limoni Real Estate Inc.            Panama          RB           XXX 38.85
21     Limoni Real Estate Inc.            Panama          RB           XXX 3000
22     Limoni Real Estate Inc.            Panama          RB           XXX 3001
       Limoni Real Estate Inc.            Panama          RB           XXX 3002
23     Limoni Real Estate Inc.            Panama          RB           XXX 3003
       Limoni Real Estate Inc.            Panama          RB           XXX 3004
24     Limoni Real Estate Inc.            Panama          RB           XXX 3005
25     Limoni Real Estate Inc.            Panama          RB           XXX 3006
       Limoni Real Estate Inc.            Panama          RB           XXX 3007
26     Limoni Real Estate Inc.            Panama          RB           XXX 3008
       Limoni Real Estate Inc.            Panama          RB           XXX 3010
27     Long Reign Company Ltd.            China           SCB          XXX 053-1
28     Long Reign Company Ltd.            China           SCB          XXX 695-4
       Luxus Kristall AG                  Switzerland     GKB          XXX 0.100

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 1     Margelus Burga                    Switzerland     RB            XXX 50.17
       Margelus Burga                    Switzerland     UBS Lugano    XXX 280.0
 2     Margelus Burga                    Switzerland     UBS Lugano    XXX 280.1
 3     Margelus Burga                    Switzerland     UBS Lugano    XXX 405.0
       Margelus Burga                    Liechtenstein   LLB            XXX.38
 4     Margelus Burga                    Liechtenstein   LLB           XXX 38.57
       Margelus Burga                    Liechtenstein   LLB           XXX 31.87
 5     Margelus Burga                    Switzerland     UBS AG        XXX 280.0
 6     Margelus Burga                    Switzerland     UBS AG        XXX 280.1
       Margelus Burga                    Switzerland     UBS AG        XXX 280.3
 7     Margelus Burga                    Switzerland     UBS AG        XXX 280.4
       Margelus Burga                    Switzerland     UBS AG        XXX 280.5
 8     Margelus Burga                    Switzerland     UBS AG        XXX405.0
       Margelus Burga                    Switzerland     GKB           XXX 2.400
 9
       Margelus Burga                    Switzerland     GKB           XXX 2.401
10     Micadema                          Liechtenstein   UBS Lugano   XXX 7.60Y
       Micadema Stiftung                 Liechtenstein   Hypo          XXX 9018
11     Micadema Stiftung                 Liechtenstein   Hypo          XXX 9026
       Micadema Stiftung                 Liechtenstein   Hypo          XXX 9034
12
       Micadema Stiftung                 Liechtenstein   UBS Buchs    XXX 2.01C
13     Micadema Stiftung                 Liechtenstein   UBS Buchs     XXX2.60R
       Micadema Stiftung                 Liechtenstein   UBS Buchs    XXX 2.61H
14     Micadema Stiftung                 Liechtenstein   UBS Buchs    XXX 2.62G
       Micadema Stiftung                 Liechtenstein   UBS Buchs     XXX 2.63P
15
       Micadema Stiftung                 Liechtenstein   UBS Buchs    XXX 2.M1M
16     Micadema Stiftung                 Liechtenstein   UBS Lugano   XXX 7.03Y
       Micadema Stiftung                 Liechtenstein   UBS Lugano   XXX 7.61B
17     Micadema Stiftung                 Liechtenstein   UBS Lugano   XXX 7.62E
       Micadema Stiftung                 Liechtenstein   UBS Lugano   XXX 7.63M
18
       Red Sun Financial Business S.A.   Panama          RB            XXX 10.05
19     Red Sun Financial Business S.A.   Panama          RB            XXX 10.09
       Rixmat Asia Pte. Ltd.             Singapore       OCBC          XXX 6301
20     Rixmat Asia Pte. Ltd.             Singapore       OCBC          XXX 1001
       Tembrix AG                        Switzerland     UBS Chur     XXX 7.01Q
21
       Tembrix AG                        Switzerland     UBS Chur     XXX 7.03B
22     Tembrix AG                        Switzerland     UBS Chur     XXX 7.60B
       Tembrix AG                        Switzerland     UBS Chur     XXX 7.61E
23     Tembrix AG                        Switzerland     CREDIT S     XXX 40-81
       Tembrix AG                        Switzerland     MAERKI        XXX 01/26
24     Tembrix AG                        Switzerland     MAERKI        XXX 33/26
25     Tembrix AG                        Switzerland     MAERKI        XXX 14/26
       Tembrix AG                        Switzerland     MAERKI        XXX 33/26
26     Tembrix AG                        Switzerland     MAERKI        XXX 14/26
       Tembrix AG                        Switzerland     MAERKI        XXX 33/26
27     Tembrix AG                        Switzerland     MAERKI        XXX 14/26
28     Tembrix AG                        Switzerland     MAERKI        XXX 33/26
       Tembrix AG                        Switzerland     MAERKI        XXX 14/26

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 1      Tembrix AG                         Switzerland         MAERKI                    XXX 33/26
        Tembrix AG                         Switzerland         MAERKI                    XXX 14/26
 2      Tru Lieu / GW Vietnam Co. Ltd.     Vietnam             ANZ                       XXX 9504
 3      Tru Lieu / GW Vietnam Co. Ltd.     Vietnam             ANZ                       XXX 8634
        Tru Lieu / GW Vietnam Co. Ltd.     Vietnam             BIDV                      XXX 6417
 4      Tru Lieu / GW Vietnam Co. Ltd.     Vietnam             BIDV                      XXX 4105
        Tru Lieu / GW Vietnam Co. Ltd.     Vietnam             BIDV                      XXX 4488
 5
         Bank Abbreviations
 6       LGT = Liechtenstein Global Trust
         DBS = Development Bank of Singapore Limited
 7       Maerki = Maerki Baumann & Co. AG
         HYPO = Hypo Alpe-Adria-Bank International renamed as Heta Asset Resolution.
 8       RB = Raiffeisen Zentralbank Österreich AG
         UBS Branches: UBS Chur, UBS Buchs, UBS Lugano, UBS AG based in Zurich & Basel
 9       BIDV = Joint Stock Commercial Bank for Investment and Development of Vietnam
         Swissfirst = Swissfirst AG, in December 2006 bought by Bellevue Group AG
10       Wegelin = Wegelin & Co. was sold to the Raiffeisen
         Banking Group.
11       ANZ = Australia and New Zealand Banking Group Limited
         OCBC = Oversea-Chinese Banking Corporation Singapore
12       Credit S = Credit Suisse Group
         VPB = VP Bank AG
13       LLB = (Liechtensteinische Landesbank) National Bank of Liechtenstein
         GKB = Graubundner Kantonalbank
14       SCB = Standard Chartered Bank (Hong Kong) Limited
         Tokyo = Bank of Tokyo-Mitsubishi (MUFG)
15       B Pasche = Banque Pasche SA
            13.     For each of the years 2004 through 2009, the aggregate amounts in the accounts listed in
16
     paragraph 12 above, exceeded $10,000 in U.S. currency.
17
            14.     Defendants were required by law to file FBARs reporting their financial interest in the
18
     accounts listed in paragraph 12 above, for the years 2004 through 2009, as well as any other year that
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     satisfied the FBAR reporting requirements.
20
            15.     Defendants did not file FBARs that disclosed the accounts listed in paragraph 12 above,
21
     for the years 2004 through 2009.
22
            Willful Failure to File FBARs
23
                    Francis Burga
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            16.     Before moving to the United States, Ms. Burga obtained a nursing degree while in her
25
     native country the Philippines. In 1974, Ms. Burga also earned an undergraduate degree in business
26
     management from Mesa College in San Diego, California.
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 1          17.    From 1972 through 1982, Ms. Burga worked at National Micronetics, which made

 2 magnetic head/wafer assemblies for computers. Ms. Burga was promoted quickly at National

 3 Micronetics, having started doing computer assembly and inspection work, she was promoted to

 4 Supervisor of Research and Development, then became the Supervisor of the Advance Manufacturing

 5 Department, was then promoted to Coordinator of Sales, Engineering and Manufacturing and was

 6 ultimately named Manager of Sales, Engineering and Manufacturing.

 7          18.    In 1982, with two colleagues from National Micronetics, she co-founded Magnebit

 8 Corporation. Magnebit supplied magnetic heads and test heads to computer manufacturers. Ms. Burga

 9 was the Vice President and Director of Manufacturing and Sales for Magnebit until it was bought out in

10 late 1988.

11                 Margelus Burga

12          19.    Mr. Burga was a naturalized U.S. citizen born in Romania. He was a mechanical

13 engineer with two Masters of Science degrees, one from the University of Bucharest and the other from

14 Santa Clara University.

15          20.    In 1988, Mr. Burga founded Marburg Technologies, Inc. Marburg also does business as

16 Glide/Write (Glide/Write USA). Marburg designs and manufactures precision components and

17 assemblies for the data storage industry.

18          21.    Between 1997-2000, Margelus Burga and his brother Alexander Burga filed for eight

19 glide head related patents in the United States. The patents were granted between 1997 and 2003 and

20 were commercially exploited by Marburg.

21                 Mr. and Ms. Burga

22          22.    In 1989, Mr. Burga offered Ms. Burga a job with Marburg, which she declined. In early

23 1990, Mr. Burga again offered Ms. Burga a job and an ownership interest in Marburg d.b.a. Glide/Write

24 USA. She accepted his second job offer and was given the title of Vice President of Manufacturing and

25 Sales.

26          23.    In 1992, Ms. Burga assumed two corporate officer positions for Marburg: Treasurer and

27 Secretary.

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 1          24.     On December 24, 1991, Alexander Burga was born to Mr. and Ms. Burga. Their second

 2 son, Jonathan Burga, followed on February 27, 1993.

 3          25.     On July 25, 1995, Mr. Burga and Ms. Burga were married.

 4                  Foreign Bank Accounts and Entities

 5          26.     In October 1993, the Burgas traveled to Lugano, Switzerland. While there, they opened a

 6 joint bank account with the Swiss Bank Corporation (which later reorganized and was renamed Union

 7 Bank of Switzerland, or UBS).

 8          27.     Mr. and Ms. Burga used their U.S. passports to open their UBS account and requested

 9 that the bank retain all mail from the account. Both Mr. and Ms. Burga signed the opening documents

10 for the account and each had the unrestricted right to dispose of the account’s assets.

11          28.     In 1994, Mr. and Ms. Burga established Accipitor Trading Ltd. in the British Virgin

12 Islands.

13          29.     In May of 1995, Mr. and Ms. Burga traveled to Vaduz, Liechtenstein. While there, they

14 met with financial advisor Peter Meier at Liechtenstein Global Trust.

15          30.     The Burgas expressed to Mr. Meier their desire to set up a company in Liechtenstein to

16 organize the Asian sales of Glide/Write outside of the United States. The Burgas also expressed to Mr.

17 Meier that it was important to them to build and protect a fortune outside of the United States and then

18 to later obtain residency in Switzerland.

19          31.     At the Burgas’ request, Mr. Meier developed a solution that would allow the Burgas to

20 keep their foreign profits outside the United States. Initially, Mr. Meier set up a company, which he

21 managed, to receive the profits of the Burgas’ Asian operations.

22          32.     As the profits grew rapidly, Mr. Meier suggested the creation of a Liechtenstein stiftung

23 (stiftung translates into English as a “foundation,” but is treated as a trust for U.S. tax purposes).

24          33.     In 1996, Romphil Foundation, a Liechtenstein stiftung, was created for the Burgas.

25 Romphil is a combination of the names of Mr. and Ms. Burga’s native countries, Romania and the

26 Philippines.

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 1         34.      The Burgas installed Mr. Meier as the Trustee and Director of the Romphil Foundation,

 2 while retaining control over Romphil by appointing Mr. Burga founder and beneficial owner and Ms.

 3 Burga as a secondary beneficiary.

 4         35.      The Burgas used Romphil to create a complex structure that grew to include at least 25

 5 tiered entities based in Liechtenstein, Switzerland, Singapore, and other European and Asian countries.

 6 Those entities have thus far been identified as follows:

 7               (a) Accipitor – created in the British Virgin Islands in 1994. In 1998, Accipitor purchased

 8                  two properties on Sobey Road in Saratoga, California, which were used by the Burgas as

 9                  their personal residence, for $2.9 million from Glide/Write USA.

10               (b) Aljohn Establishment - created in Liechtenstein for the Burgas in 1995. Aljohn is a

11                  combination of the names of Mr. and Ms. Burga’s sons, Alexander and Jonathan.

12               (c) B&L Group, AG – incorporated in Switzerland in 2010, owns Golden Café and Hotel

13                  Krone.

14               (d) Bakewell Assets – founded in the British Virgin Islands in 1998, functions as a holding

15                  company. Mr. Meier, and both Burgas are named as members of the Board with

16                  signatory authority.

17               (e) Framach Investment AG – incorporated in Switzerland in 2007, holds property.

18               (f) Georgilo Assoc. – incorporated in the British Virgin Islands in 2007, its purpose is

19                  unknown.

20               (g) Gobellia – incorporated in Panama in 2008, functions as a holding company.

21               (h) Golden Café Central, AG – incorporated in Switzerland in 2010, provides gastronomy

22                  services in Switzerland and holds ownership of Hotel Krone assets.

23               (i) Glide/Write Cygnus Corporation – incorporated in Japan in 2002, provides sales,

24                  commissions, trading, and agent services for distribution of computer hardware in Japan.

25                  It is believed to be a shell company – that is an entity that has no active business and

26                  exists only in name as a vehicle for another company’s business operations.

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 1           (j) Glide/Write Singapore – incorporated in Singapore in 1997, provides sales, commissions,

 2               trading, and agent services for distribution of computer hardware in Singapore. It is

 3               believed to be a shell company.

 4           (k) Hotel Krone, AG – incorporated in Switzerland in 2010, provides gastronomy services in

 5               Switzerland.

 6           (l) Huritiga International, Singapore – incorporated in 2008, owns 100% of the stock of

 7               Ahead Magnetics, Inc. (like Glide/Write USA, Ahead Magnetics markets precision

 8               components and assemblies for data storage and retrieval to large hard drive

 9               manufacturers. Ahead Magnetics is one of three domestic corporations owned and

10               operated by Mr. and Ms. Burga through their offshore entities.)

11           (m) Huritiga International Trading and Financing Limited – incorporated in Liechtenstein in

12               1999, 100% shareholder of Huritiga International, Singapore.

13           (n) Intervino AG – incorporated in Liechtenstein in 1989, owns 100% of Sta. Agricola

14               Rosoretto

15           (o) Jonax International Aktienesllschaft – incorporated in Liechtenstein in 2001, owns the

16               Burgas’ automobiles.

17           (p) Limoni Properties – incorporated in Panama in 2008, functions as a holding company.

18           (q) Long Reign – incorporated in Hong Kong in 1997, provides sales, commissions, trading,

19               and agent services for distribution of computer hardware in China. It is believed to be a

20               shell company. Long Reign processed payments between Glide/Write USA and Tru

21               Lieu. By 2012, Long Reign paid $1.7 million in dividends to its parent company Red

22               Sun. Of the dividends paid to Red Sun, almost $1 million was then paid to Ms. Burga in

23               the form of three separate interest-free loans.

24           (r) Luxury Swiss SA – founded in Switzerland, it is believed to be closed.

25           (s) Luxus Kristal, AG – incorporated in Switzerland in 2008, manufactures household tiles.

26           (t) Red Sun – incorporated in Panama in 2002, functions as a holding company.

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 1               (u) Rixmat Asia – incorporated in Singapore in 2009, provides sales, commissions, trading,

 2                  and agent services for distribution of computer hardware in Singapore. It is believed to

 3                  be a shell company.

 4               (v) Sewitech, AG – incorporated in Switzerland in 2002, manufactures lawnmowers.

 5               (w) Sta. Agricola Rosoretto, SRI – incorporated in Italy in 2010, operates a winery in Italy

 6                  and holds the Italian home of the Burgas.

 7               (x) Tembrix, AG – incorporated in Switzerland in 1988. In 1998, Tembrix purchased

 8                  Glide/Write USA for $4 million and then loaned Glide/Write USA $10 million to cover

 9                  operating shortfalls.

10               (y) Tru Lieu – founded in Vietnam in 2003, manufactures computer hardware and is also

11                  known as Glide/Write Vietnam.

12         36.      During the years at issue and using the accounts described in paragraph 12 above, the

13 Burgas continued a false invoicing scheme created by Mr. Meier to divert the offshore profits from their

14 computer hardware business to some of their offshore entities described in paragraph 35 above.

15         37.      From 2001 through 2009, Ms. Burga was the Vice President of Sales for Glide/Write and

16 after the death of her husband in 2010, she became the President. In both positions, she was the starting

17 point in the false invoicing scheme which operated as follows:

18               (a) Ms. Burga would negotiate sales on behalf of Glide/Write USA with third-party

19                  customers such as Seagate, Fuji, and Showa Denko, located in Asia.

20               (b) The Asian customers were instructed to send their purchase orders to Glide/Write

21                  Singapore or Glide/Write Japan.

22               (c) Glide/Write Japan would translate the purchase orders into English and then send them to

23                  Glide/Write USA and Glide/Write Singapore.

24               (d) Glide/Write Singapore would create a new purchase order for Glide/Write USA showing

25                  Ingenieruburo Koch Anstalt (IKA is an entity owned by Andreas Koch, a Liechtenstein

26                  citizen and friend of the Burgas) as the customer (instead of Seagate, Fuji, or Showa

27                  Denko, for example) and reflect a price substantially less than the one the actual

28                  customer’s purchase order reflected.


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 1              (e) Glide/Write USA would record the IKA purchase order reflecting the reduced price. It

 2                 would then manufacture the products and ship them to either the actual customer directly

 3                 or to Glide/Write Japan or Glide/Write Singapore.

 4              (f) Glide/Write Japan would pay Glide/Write Singapore for all products purchased from

 5                 Glide/Write USA.

 6              (g) Glide/Write Singapore would then pay IKA an amount roughly equal to 99% of the

 7                 amount of the actual customer purchase order.

 8              (h) IKA would then pay Glide/Write USA the reduced amount reflected on the purchase

 9                 order created by Glide/Write Singapore.

10              (i) IKA would pay the balance, roughly 50%, to Aljohn as a “commission.”

11        38.      The scheme can be illustrated as follows:

12              (a) Ms. Burga sells 100 parts to Showa Denko for $150.

13              (b) Denko sends its order to Glide/Write Japan.

14              (c) Glide/Write Japan would send a purchase order for 100 parts to Glide/Write Singapore

15                 and a purchase order for 100 parts to Glide/Write USA.

16              (d) Glide/Write USA would take its purchase order and build 100 parts.

17              (e) Glide/Write Singapore would then send a second purchase order to Glide/Write USA

18                 showing IKA ordered 100 parts for a reduced price of $75.

19              (f) Glide/Write USA would record the IKA purchase order and ship 100 parts to Glide/Write

20                 Japan.

21              (g) Glide/Write Japan would ship all the parts to Denko.

22              (h) Glide/Write Singapore would then send $75 to Glide/Write USA and $74 to IKA.

23              (i) Glide/Write Singapore would keep $1 for its “fee.”

24              (j) The $74 would be diverted and deposited in an offshore account.

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 1         39.     In 2001, Mr. and Ms. Burga both executed a Form A, affirming that they were the

 2 beneficial owners of the UBS account they opened in October 1993 (see ¶ 26).

 3         40.     On June 21, 2002, Mr. and Ms. Burga signed a “Supplement for New Account US

 4 Status,” which indicated to UBS that they were U.S. persons liable for tax in the United States.

 5         41.     Mr. and Ms. Burga signed a second “Supplement for New Account US Status” on July

 6 14, 2006. That same day both also executed documents waiving their right to invest in U.S. securities.

 7         42.     Notwithstanding these actions, both failed to disclose their joint bank account on

 8 Schedule B of their federal income tax returns between 1995 and 2009.

 9         43.     On August 7, 2007, at the beginning of a civil tax examination of the Burgas’ federal

10 income tax returns, the IRS interviewed Mr. Burga.

11         44.     During that interview, Mr. Burga told the IRS Revenue Agent conducting the interview

12 that he and Ms. Burga did not have any foreign bank accounts, that they did not own any foreign

13 corporations, and that they did not have any trusts. Mr. Burga even went so far as to say that he

14 understood that trusts were used to avoid paying taxes.

15         45.     After his interview with the IRS but still on August 7, 2007, Mr. Burga caused to be

16 transferred all of the funds, more than $6 million, out of the Burgas’ joint UBS account and into

17 Micadema stifutung.

18         46.     Micadema stiftung had been created in 2007 in Liechtenstein with Mr. Burga as the

19 founder and beneficial owner.

20         47.     On August 27, 2007, Ms. Burga, who at the time was known as Ms. Guevara, was

21 designated as successor protector of Micadema.

22         48.     On December 18, 2008, the Burgas closed the Romphil stiftung and transferred over $100

23 million in assets (as well as Tembrix, Accipitor, and Aljohn) to a new stiftung in Liechtenstein, Marfran.

24 Marfran is a combination of the Burgas’ first names, Margelus and Francis.

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 1       CLAIM FOR RELIEF: JUDGMENT FOR CIVIL PENALTIES (31 U.S.C. § 5321(a)(5))

 2         Liability for Civil Penalties

 3         49.     During the years 2004 through 2009, defendants Mr. Burga and Ms. Burga were United

 4 States persons within the meaning of 31 C.F.R. § 1010.350(b).

 5         50.     During the years 2004 through 2009, defendants had financial interests, within the

 6 meaning of 31 C.F.R. § 1010.350(e), over the accounts described in paragraph 12 above.

 7         51.     The accounts described in paragraph 12 above are each a bank account in a foreign

 8 country.

 9         52.     During the years 2004 through 2009, the aggregate balance in all bank accounts exceeded

10 $10,000.

11         53.     Defendants failed to file an FBAR identifying their financial interest in the accounts

12 described in paragraph 12 above, with regard to the 2004 through 2009 years, as required by 31 U.S.C.

13 § 5314 and 31 C.F.R. § 1010.306(c).

14         54.     The failure of defendants to timely file, and/or properly identify all of the foreign

15 accounts in which they held a financial interest with regard to the 2004 through 2009 calendar years was

16 willful within the meaning of 31 U.S.C. § 5321(a)(5).

17         55.     Ms. Burga has admitted that Mr. Burga is liable for the civil FBAR penalties assessed.

18         Assessment and Collection of the Civil Penalties

19         56.     On about June 13, 2017, a delegate of the Secretary of the Treasury timely assessed civil

20 penalties against each Margelus Burga and Francis Burga in the amount of $52,581,605, due to their

21 willful failure to timely file FBARs to disclose their accounts to the IRS for the years 2004 through

22 2009.

23         57.     A delegate of the Secretary of Treasury sent a notice of the assessments and demand for

24 payment to defendants for the FBAR penalties at defendants’ last known address.

25         58.     In addition to the FBAR penalties, defendants owe late-payment penalties pursuant to 31

26 U.S.C. § 3717(e)(2), and interest pursuant to 31 U.S.C. § 3717(a), and applicable collection related fees

27 pursuant to 31 U.S.C. § 3717(e)(1).

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 1         59.    As of May 30, 2019, the unpaid balance owed to the United States by defendants for the

 2 FBAR penalties, the late payment penalty, applicable fees and interest, less any payments, was

 3 $119,603,703.38.

 4         60.    The United States is entitled to a judgment against defendants in the amount of

 5 $119,603,703.38 as of May 30, 2019, plus statutory accruals as provided by law from that date until

 6 fully paid.

 7         WHEREFORE, the United States requests that the Court:

 8         A.     Enter judgment in favor of the United States of America and against Francis Burga and

 9         Francis Burga as the Administrator of the Estate of Margelus Burga, in the amount of

10         $119,603,703.38 as of May 30, 2019, plus statutory accruals from that date until fully paid; and

11         B.     Award the United States of America its costs, and such other further relief as the Court

12         deems just and proper.

13         Dated this 10th day of June, 2019

14                                                      RICHARD E. ZUCKERMAN
                                                        Principal Deputy Assistant Attorney General
15
                                                        /s/ Amy Matchison
16                                                      AMY MATCHISON
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     COMPLAINT                                     20
